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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CIVIL MINUTES — GENERAL

Case No. 8:21-cv-01482-CJC-DFM Date November 24, 2021

 

 

Title Amico Management, Inc. v. Tae Ho Kang et al.

 

 

Present: The Honorable CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

 

 

 

Rolls Royce Paschal None Present
Deputy Clerk Court Reporter
Attorneys Present for Plaintiffs: Attorneys Present for Defendants:
None Present None Present
Proceedings: (IN CHAMBERS) ORDER TO SHOW CAUSE RE PARTIAL

DISMISSAL FOR LACK OF PROSECUTION

Plaintiffs are required to prosecute their cases diligently. That includes, where applicable,
promptly (a) filing stipulations extending a defendant’s time to respond to the complaint, (b) pursuing
default and remedies under Federal Rule of Civil Procedure 55 when a defendant fails to timely
respond to the complaint, or (c) dismissing claims against a defendant that the plaintiff has chosen not
to pursue for any reason.

Here, Plaintiff has filed a proof of service and the parties filed a stipulation extending time to
answer as to Defendant Tae Ho Kang yet the deadline for that Defendant’s response to the Complaint
has passed and Plaintiff has taken no action. Accordingly, the Court, on its own motion, hereby
ORDERS Plaintiff to show cause in writing, no later than November 30, 2021 why this Defendant
should not be dismissed from this action for lack of prosecution. As an alternative to a written
response by Plaintiff, the Court will consider as an appropriate response to this OSC the filing of one of
the following on or before the above date:

1. Plaintiffs Request for Entry of Default as to this Defendant or this Defendant’s Answer

2. A stipulation extending this Defendant’s time to respond to the Complaint that complies with
Local Rule 8.3, or

3. A Notice of Voluntary Dismissal of this Defendant (Fed. R. Civ. P. 41).

No oral argument will be heard on this matter unless ordered by the Court. The Order will
stand submitted upon the filing of a timely and appropriate response. Failure to file a timely and
appropriate response to this Order may result in dismissal of Plaintiff's claims against this defendant.

 

Initials of Deputy Clerk rrp

 

 

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